_Case 1:23-cv-1128
U.S. Department of Justice

cument 14 Filed pRERABSS MRERIPT AND RETURN

See “Instructions for Service of Process by U.S. Marshal"

United States Marshals Service

PLAINTIFF COURT CASE NUMBER

Thomas A. Mourier 23-11280-IT

DEFENDANT TYPE OF PROCESS
Summons

Massachusetts Office of Consumer Affairs and Business Regulation

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE Massachusetts Office of Consumer Affairs and Business Regulation

ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

AT
501 Boylston St #5100, Boston, MA 02116

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Thomas A. Mourier
3 Indian Hill Road
Winchester, MA 01890

Number of process to be 1
served with this Form 285

Number of parties to be
served in this case

Check for service
on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):
Alternative address:

1000 Washington Street, Suite 710, Boston, MA 02118
(617) 973-8787

(888) 283-3757

9:00 a.m. - 4:30 p.m.

Signature of Attorney other Originator requesting service on behalf of:
[x] PLAINTIFF

/s/ Thomas Mourier (] DEFENDANT

TELEPHONE NUMBER

1-781-602-

DATE

0385 8/24/2023

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

District of District to

a 4 .
OBR OF Se
No. o9

Total Process

3

| acknowledge receipt for the total
number of process indicated.
(Sign only for USM 285 if more
than one USM 285 is submitted)

(JY

Signature of Authorized USMS Deputy or Clerk

3u/ 25

&

| hereby certify and return that | IX

——
have personally served , [7] have legal evidence of service, [] have executed as shown in "Remarks", the process described on the

individual, company, corporation, ete., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

(7) Thereby certify and return that | am unable to locate the individual, company, corporation, etc. named above (See remarks below)

}

ee

Name and title of individual served (if not shown above)

Ko si: Gand iS | Arecxcr CE Communic ceianss

Time

Date [J] am
Aizyiza| \.sarm Mem

Address (complete only different than shown above)

SL DUM 1 Vous

Signature of U.S. Marshal or Deputy

4 CotA~—

Coasts shown on attached USMS Cost Sheet >>

REMARKS

SERVICE

mow a
RSHAI

BOSTON, MA

2023 AUG 30 PM 2:06

U.S. MA

mt 2 FG] US

Form USM-285
Rev. 03/21
